Case 2:98-cv-05591-LR Document 292-8 Filed 09/07/06 Page 1 of 17

EXHIBIT 10

heather corinna: pure aqthedsivemslughy.05591-LR Document 292-8 Filed 09/07/06 4Spi({wvordenpmerotic.com/journal.html

(Jeamal Lins

the site & the
work

best of (the
singles)

have it all
cast & crew
email

flickr stream
more journals

1 of 37

July 7th, Two Thousand Six: I heart my hearth.

It was chilly this morning, so I had every excuse to go ahead and build a fire,
something which had become a morning ritual before it got very warm over the
last week or two. I'm still sitting in front of it, the embers warming my skin, the
scent of woodsmoke infusing the house and wafting out into the garden,

I'm a firestarter, always have been. Literally, symbolically. When I camp with
others, gawd save anyone who tries to be responsible for the fire in my stead. I
want to build it, I want to tend it, I want to see it through. Astrologically, sparing
a mere two planets in air (and not a one in water), I'm all earth and fire.
Personally, professionally, politically, I'm a lamplighter, I'm the one with the
matches when no one’s got a light; I try not to burn bridges overmuch, but IT
gladly do it if need be. I make hearths, I keep them warm and ready.

In the apartment we lived in the longest in my childhood, there was a painted,
vacant fireplace. As was the case in a lot of buildings in Chicago built post-Mrs.
O'Leary's Big Cow Whoopsie-Daisy, it wasn't a working fireplace. We'd glued
mirrors inside it, and I'd sit in there often with a pile of books, imagining the
warm fire that wasn't.

The last time I had a working fireplace somewhere I lived, it ended up being
primarily used for my survival. Through a combination of both terrible choices
and terrible jerk, in '97, I had $600 a month to live on from a 60-hour-a-week
internship, and my fellow "housemate" screwed me utterly, which involved
leaving me busted flat in a place with rent I couldn't pay alone (but where there
was no way to work a roomie I wasn't sleeping with), as well as without a goodly
amount of my personal property and a phone bill in my name of several hundred
dollars. The heat got shut off (no fun in a Chicago winter), and in short order, so
did the gas and the electricity. I could afford to eat the barest basics every other
day. By virtue of technically being employed, and being childless, I was not
eligible for any welfare, either. In time, I moved my futon in front of the fire,
cooked spare stews over the flames made from whatever I could find to burn in
the dumpsters that day.

Just having that fire -- not just to keep me warm, not just as a means to cook and
have light at night, but as elemental, emotional sustenance -- helped get me
through a really rotten, scary time. I felt so isolated at the time, especially given
that I had to keep the state I was in a secret from nearly everyone, every day; I
felt betrayed, lost, abandoned, cold inside and out. I also felt incredibly angry.
The nights I could have a fire, it was a wonderful balm for all of that: it warmed
the frigid air, it gave me company and comfort, and it's hot, red flames licking
and consuming this piece of discarded furniture or that spoke to my anger and
reminded me that it can motivate, rise up, fight back.

x*% *

Sunday, Mark went off on an overnight day trip with a few friends, so for the first
time, I had the house to myself all day and all night. I ended up dedicating most
of my day and evening to building the hearth here. I stained a couple wooden
curio boxes and frames black, brought out all the small objects of import I'd kept
set aside for the area for weeks, arranged and rearranged them carefully, taking

7/22/2006 1:59 PM
2 of 37

pit stops/links
journal FAQ
professional
portfolio

May 10th: The Salon
of Shame! You think
this journal is
embarrassing? You
don't know the half of
it. Come join the
fabtastic Miz Ariel,
myself as others as we
unearth and read from
the journals we NEVER
meant to have shared.

There are currently

5623

original photos in

1 6 3

sets for subscribers

® because gay
and lesbian
rights are

human rights.
® because

terrorism and
torture have
always been

global problems
@ ... even right
here at home.

® because women
aren't
second-class

heather corinna: pure ascth¢dsivemslughy.95591-LR Document 292-8 Filed 09/07/06 bMptemavdpnmerotic.com/journal.html

all the time I wanted. When we first moved here, without even thinking about it,
this is where I began to meditate every morning. I had originally planned to set
my meditation space up in the downstairs studio, since it'll be very spare in
there, but clearly, this is where it's supposed to happen.

It's not done yet: shrines take time, after all. But it remains my favorite space in
the whole place: better than the lovely old bathtub Mr. price and I have
marvelous, long conversations in, better than my fun, (now) stripey-pale-yellow
upstairs studio, better than the checkerboard floors I love so much, better even
than the bed (which actually sucks and is killing my damn back, but that hasn't
stopped us from having an awful lot of fun in it, nonetheless). I'm also not done
finishing the house, in general. Both my workspaces are still not actually
functional, something I have GOT to get a handle on, because I haven't been able
to do any self-portrait work in an age, and I've got some nifty stuff spinning
round in my head.

This weekend, a 48-hour film project is happening in our space resulting in a full
house of cast and crew, so I don't imagine I'll be in luck per getting the studios or
any photo work done until some time next week, though there may be some
times when it's not only doable but prudent to lock myself in the upstairs studio
and get things better arranged up there. Sadly, two boxes seem to have vanished
during the move which contain some of the things most important to me (it
seemed so smart at the time to put them all in two boxes, alas), so I'm hoping for
time to get EVERYTHING left in a box in the house cleared out soon so I know
whether to abandon all hope or not.

But for right now, I need the energy of my hearth: both its angry motivation and
its tender warmth. Per usual, I have a lot on my plate, and per usual, I'm still
behind. It's been a long adjustment to get used to something so seemingly simple
as the fact that my workdays usually have a definite end now, rather than the
luxury I had when living alone of stretching them over whatever hours, or even a
length of several days with tiny passouts in between. It's an adjustment to learn
to communicate some of the toughest things I do/see/bring up in a day to
someone who both loves and cares for me and who-comes from a very different
place than I do. It's an adjustment to be sure there's room in my life now for both
my passionate anger and my passionate tenderness, but the fire's got lessons on
all of this and more in her hot red tongue, and I've a few minutes more in my day
left just to listen.

(Addendum: it now appears that Sofia will have the starring role in the film,
gawd help us all. Especially me, who made plans to NOT be here to be out of
everyone's way, as requested, but am now feeling pretty darn conflicted about
my poor dog being dragged to a million locations and having to perform on
command without her mama. Ugh.

Oh, and for those who felt sad they weren't here two Sundays ago to see the
ass-smacky dance, I have a few stills. Who's sorry now, I ask you?)

Comment (3)

June 27th, Two Thousand Six: Greetings from the Planet Post-Launch!

I'm -- slowly, so slowly -- coming back to the earth I know. I only realized in the
middle of last week that it had been a good seven years since I launched a
community-oriented, big-ass site. I'd forgotten how much damn work it is, and
how crazymaking it can be. In this case, all the more so when you're using a
system to run it you don't know shite about from the onset. Had it not been for
my fantastic pal Garrett, not only would it probably never have gotten done, I'd
have pulled out all my hair trying to figure it out myself in the process.

7/22/2006 1:59 PM
heather corinna: pure asteciuiverpgughy-05591-LR Document 292-8 Filed 09/07/06 beexderyvdenmperotic.conyjournal.html

3 of 37

citizens.

® because it
should always
be your choice
when it's your
body.

@ because
everyone should
know that real
peace doesn't
create a
mounting death

toll.

@ because sex
education has
left the (school)
building.

® because some
people in office
could give a

fiddler’s fart
about the

constitution.

Barb, Kings ¢ Award

just a little queer
sex burb e artists burb
photogenic burb

D

Search th

is blog:
Search. |
» Blogs that link here

SESE To Mae we mo

So, the big news is, the All Girl Army is live as of late Friday afternoon! I still
have a few things to tweak here and there, but we've got the majority of it
finished and seriously hoppin'. These young women and girls.... bloody HELL,
are they amazing. I knew that going through their applications, but they're so far
exceeded my expectations ALREADY, it's unreal. There wasn't a single day last
week, as they started to post, that I didn't weep at least two or three times with
The Big Happy. Since it's all I have been talking about in writing the supporting
material for it, now getting press releases done, and the lot, I won't go on ad
nauseum here, which would be my inclination since it's all I CAN seem to talk
about of late. You can check it out for yourself. Part creative writing project, part
intentional women's community, part live-broadcast women’s studies class, I'm
so, so pleased with how it all came together, how much the young women love it,
and how quickly it's already growing.

Two seconds after I finally launched on Friday afternoon, Mr. Price dropped a
flower in my lap, filled the picnic basket with goodies and bubbles and we
nabbed the dog and headed over to Golden Gardens, which was a fantastic way to
spend the first really summery afternoon and to celebrate the launch (and don't
think I don't know I'm a lucky ducky). We were supposed to also go out to catch a
gig that night, but by 9:00, I was comatose for a full 12 hours.

Saturday was a whole day dedicated to us jointly taking care of the house. The
old pushmower that came with the house was seriously useless, so it got to the
point where last week, my opening to discuss it with the landlord began with
"Greetings from the rainforest!" Friday night when I let Sofia out back, it was a
slasher flick scene: at some point, she went deep enough into the high grass of
the yard that I couldn't find her, and, with a heavy heart, assumed she had been
snatched by some wild Yukyuk.

Avery generous soul at Mark's day job came by early Saturday morning with a
weed whacker and a power mower and we all went to work. Since the two of
them ended up doing most of it, I paid my dues by spending two hours weeding
the garden, which, as of right now contains: six huge heirloom tomato plants,
several batches of spinach, edamame, strawberries, rosemary, lemon verbena,
cilantro, garlic chives, much basil, thyme, two varieties of oregano, three kinds of
mint, pineapple sage, white sage, pennyroyal, three peppers, a baby eggplant, a
pumpkin plant, poppies, aussie lavender, pansies, some other edible flowers and
a bunch of other stuff. Good soil here, lots of worms. (I even had to break up a
fight between a worm and a centipede the other day. It wasn't pretty. I played
favorites and the worm won.) It's looking like I can get my Dad up here for a visit
in August, and I look forward to using all of this stuff to cook together with him:
it's my Dad I have to thank for my formidable skills in the kitchen and love of all
things food and cooking, and he hasn't had any way to cook for a decade.

We finished Saturday with some walking and a Paperboys gig at the Tractor,
which is blissfully but a few blocks from Chez Ballard. This is an awesome ‘hood,
kids.

Sunday afternoon we had a few friends over for an anti-Pride of sorts, which,
given the glorious heat and a lot of mojitos (the mint needed to be used), resulted
in the guests ending up face down on blankets in the yard, and Mr. Price being
loaded enough to do a strange little self-ass-smacky dance for our amusement (or
maybe THAT'S why they were face down).

(I just checked: there are some photos of aspects of this dance. I shoulda taken
video. Nonetheless, will toss up some of the evidence I do have soon.)

There was some mightyfine sex nestled in there, too. Much pleasantness.

7/22/2006 1:59 PM
heather corinna: pure ay thecdrivemslush,.C5591-LR Document 292-8 Filed 09/07/06 SSpr({wrayeemmperotic.com/journal.html

4 of 37

Rae PSCNNGatl

<> #L DykeWrite2

GLBT logs
buffy: journal slayer
the pepys project

registered @diarist.net

Recent Enfvies

12.21 - 02.20
10.19 - 12.07
08.07 ~- 09.30
06,09 - 08.06
04.08 - 06.02
02.28 - 04.06
01.19 - 02.23
12.31 - 01.15
12.09 - 12.28
11.03 - 12.05
10.04 - 11.05
09.27 - 10.01
09.08 - 09.24
08.02 - 09.62
07.13 - 07.31
07.08 - 05.21
05.05 - 05.17
all 1999 - 2004
1983-1988
(last five ST blog
posts)

m= Abortion &
Trauma: The
Bigger Picture

m Oh, Bloody Heil.

m What? Bush
nominates
someone who'll
support the

extreme right to
the Suprerne

Court?
™ The good news
iS...

m Because you
make us sick,
that's why.

Pail Reddy

The rest of this week, thus far, has been spent trying to play catch-up, work-wise,
house-wise, relationship-wise, socially. I needneedneed to do some photo work. I
have Scarleteen to catch up with, some new articles to pen. J have bloody well
GOT to find a gym nearby I can box at, because not being able to is making me
nutty. I have to solidify a date for a meeting in July about getting both Scarleteen
and the AGA nonprofit status (finally!). I have got to, for the love of gawd, get my
studios in working order, and suck it up and buy some decent lights, much as I
wish I didn't have to. I need to call the electric company in Minneapolis AGAIN,
since the jerk who bought the building out from under us apparently refuses to
verify with them that I have not been living there for months now, and so I keep
getting billed for his electric use. Joy.

Tneed to sit down
and make a big list
of everything I
have to tackle in
the next month,
and be sure I do it
on a day where
right afterwards, I
can spend an hour
lazing around in
the sun to prevent
me from having an
aneurysm.

And, of course, I
have got to get this
little bit of ramble
up, so that y'all
stop asking me if
I'm still alive.

Alive, living,
breathing, and
frazzled as usual.

P.S. Sofia sends
her best, and is
also muy pleased
that site
development
madness has come
to a close.

Comment (3)

May 19th, Two Thousand Six: I'm off to MN on Saturday, for a visit just
under a week. When I moved out here, it was cheaper to buy a round-trip ticket
than a one-way, so I just got a return ticket for Briana's due date. As it turns out,
she had The Baby Liam on Tuesday, but all the same, I'll get to see him and take
way too many photographs of him.

I miss my friends a lot. That'd be why I'm going back for this visit (though I also
need to close accounts there, see my acupuncturist, get my hair trimmed and the
lot, but that's a sidebar). It'll be awesome to see them.

But in some respects, I wish I wasn't going back just now. It feels mighty soon,

7/22/2006 1:59 PM
women's space

common dreams

fmf news
clamor
scarieteen blog
rob brezsny
bitch, PhD
jenny

lauren & emira
debra
columbine

dru

seska
jeanette
winterson

halcyon
daily dharma
safer sex
daze reader
queerday

wil Ore

heather corinna: pure asthecdstyerpghugly_05591-LR Document 292-8 Filed 09/07/06 BEgererdruppertic.comijournal. html

especially since I'm getting my bearings here and starting to feel adjusted: I hate
to leave that prematurely. It's becoming patently clear that I really like it here. A
lot. More than I even expected to. For whatever number of reasons -- the fine old
house we're living in, my partnership with Mr. Price, the climate and location,
the people here, who knows -- I'm not sure I've ever lived anywhere where it is so
easy for me to relax, to the point that I have to do the opposite of what I used to
per working. Usually, I have to kick myself in the ass to take time off: now, I'm
having to do same to get cracking and keep working. Crazy.

To boot, we're in our adjustment period. Much of it is us being crazy-happy,
dancing around the house and snuggling at night, and still shocked this whole
cohabitation thing isn't harder than it is. But some of it isn't so easy. Mark's dealt
with a lot of panic and anxiety over the last week, and last night, a film ended up
being a terrible trauma trigger for me (when we wanted a nice date-night, grrr).
I'm not easily triggered, but it does take some getting used to per living with
someone who has triggers, who has lived through a good deal of trauma,
especially when you haven't. Of course, there's also just the typical logistic stuff:
feeling out how to make our schedules mesh, our creative lives and styles mesh,
and so forth. In one respect, that might make right now a very good time for a
little few-day breather, but in another, I feel like I'm shuttling off in the middle of
a project in an important phase.

The film was Tarnation, for the record. And it was a brilliant, amazing, painful,
powerful film, created out of footage the protagonist shot of his life from when he
was 11 onward. However, not only did his adolescence mirror mine and those of
people I loved and lost WAY too closely -- and right in the same time period, so
the combo of appearances, feel, music from the time, ugh, too much -- his lone
bright spot was his mentally incapacitated/disturbed mother. I was hanging on
by a thread before the torturous five-minute scene of her, utterly gone and
singing songs with a pumpkin. That was the point at which I had to holler out to
just turn it off, RIGHT NOW PLEASE. I have rarely seen any portrayals of that
whole scenario, including a parent who you love but who in many respects is just
plain GONE, and one which was entirely real was just more than I could handle.
While there were plenty of differences, I'm thinking this may be the film to hand
to anyone I want to understand some of the hardest parts of my life, even though
T couldn't even make it to the end.)

I've a lot of half-written journal entries which I can hopefully finish during the
downtime I have there. I keep vascillating between tough
political/activist/feminist/artistic issues and mostly goopy personal stuff. They
make odd bedfellows, and for whatever reason, putting either end of the
spectrum into cohesive formats feels strained and scattered, in part because I
just have too many irons in the fire right now, especially since I'm still not fully
settled in here, with a stable ground. (But on an excited note about the too many
irons, we finished the final acceptance list of the girls and young women for
blogging for the All Girl Army. We have everything from a young woman in the
military to the leader of an al-girl band, from a momma-to-be to a ten-year-old
firecracker. We have an evangelical, we have an incredible native rights activist,
a reproductive rights activist, we have an anti-porn activist, we have a woman
who works as a nude model, we have geeks, we have artists, we have scholars...
it's seriously exciting, and all of us involved with the project are chomping at the
bit to see the community these incredible young women create.)

That given, I prefer to leave you with some images (starring spiderlings!). They
may not speak a thousand words, but that's probably a desired respite from the
thousands I churn out in text. (There is also a big, gorgeous pile of new,
Mucha-inspired photos of Hyacinth in the subscribers area.)

7/22/2006 1:59 PM
heather corinna: stories @faqutavogs(pogigganbyR Document 292-8 Filed 09/07/06 Peeve ywffaapnerotic.com/photo.html

JOURNAL PHOTOGRAPHY PROSE & POETRY BIOGRAPHY MEMBERS JOIN HOME
Stonies Wits

When working and creating as a photographer and artist (rather than as an author or

sex educator), my work has been described as "bravely intimate", "incredibly

original”, "revolutionary", "perfectly imperfect" and "unbelievably diverse" by viewers
and fans.

Click a thumbnail to view the photos below (enlargements are shown at a reduced

size -- full-sized, high resolution photos are available for subscribers). For more
information on the photos, modeling, bookings, links to guest photographers and
models or technical information, read further below or see the information links at ‘
left. To see the most recent photo updates to the site, click here.

To view my professional portfolio and see my newest work, or for
information on booking photo sessions with me, click here.

SELF PORTRAIT WORK

Peat: : = as ¢

Photo Ling

® about the site
& work

® member login

® recent updates

® want to model
or hire me for
freelance

photography?
® need a model?
® technical info
® more about

1 of 5 7/22/2006 2:00 PM
heather corinna: stories @ithgutwogs(phgsgaby)R Document 292-8 Filed 09/07/06 beey*avwifermerotic.com/photo.html

2 of 5

/links

There are currently

5170

original photos in

15 4

sets for subscribers

hood

Blending more traditional styles, archetypes and themes with new approaches,
keeping the physical and emotional tone real, grounded, varied and intense, I try to
step outside genre by creating work that explores sexuality, gender and personal
identity within fine art without a typical fine art nude genericism or loss of personal
identity of the subject. Material that aims to protest stereotype, to be feminist,
queer, body image and sexually healthy and expressive, that runs the gamut from
tackling major issues to having a damned good time, and which can be enjoyed and
appreciated by viewers of varied genders and sexual orientations. I aim to put a
diverse array of real body, real mind, real heart and real sexuality out there with my
own in hopes of making a dent in the homogeneous, hetero, male-directed,
overglossed and often vapid pit of mass-produced and mainstream sexual material
in which the image usually starts and stops on the one-dimensional surface and
reflects male fantasy and ideal put upon women rather than female-directed sexual
and artistic expression.

In my mind, the difference between my work and pornography of various types isn't
as simple as my not shaving my armpits sometimes, being over 30, being queer, not
having fake breasts, often going without makeup or including other models or lovers
who may not, or certainly do not, fit mainstream beauty standards or simple
sexualor gender identities. It's a complex combination of creative, political, personal
and artistic motivation, very different business practices, socioeconomics and
context and certainly, different aims than most mainstream sexuality content or
photography of women and/or the body. For more on what I feel makes my work
different, see here.

7/22/2006 2:00 PM
heather corinna: stories @yfkqutavors(pherggaAhR Document 292-8 Filed 09/07/06 PiRyératfepmmerotic.comyphoto.html

3 of 5

My work has shown in On Our Backs magazine, at the 2003 BECAUSE exhibit, the
2004 Seattle Erotic Arts Festival and the Bryant-Lake Bowl (Minneapolis); has been
shown online at ventures like Scarlet Letters, Janesguide, Toys in Babeland and
Michelle7 and will be included in an upcoming erotic photography anthology. I also
have done commercial work for companies and organizations like
gay.com/Planetout, District 202, Dykes Do Drag and other clients, as well as many
sessions with individuals working with gender, drag and performance photos, as
well as fine art nudes and portraits, sometimes used as part of body image therapy
(and I often do that work pro bono).

7/22/2006 2:00 PM
heather corinna: storieqyithoup ynade(plospEphyR Document 292-8 Filed 09/07/06 Pritge/rerofemmerotic.com/photo.html

Truly independent artist content on the web is becoming very rare, and
fully woman-produced sexuality material not made expressly for the
male gaze or only for commercial gain rarer still, especially in visual
material. For that reason, I ask and encourage you to subscribe, either to this site
or another independent woman-owned-and-operated artist site which you frequent.
Without the financial support needed to create quality, independently produced
content, we find ourselves with little to choose from save mass-produced,
heterocentric, homogenous and uninspired material. Around 80% of the subscribers
to this site are, and always have been, women, a group which frequently laments a
lack of sexuality material available to them. Visual erotica or depiction of the female
nude and sensexsual self has been male-dominated largely because mainly male
consumers have dominated it finanically.

The subscribers area contains over 4000 quality, high resolution and fully original
photographs, updated often in more than 130 different galleries. Photos are
primarily of and photographed by myself. Besides the self-portraits and photo
sessions I photograph, there are also sessions from guest photographers, including
B. Labouyi, Lee Higgs, Billy Sheahan, Lee Stranahan, Norm Edwards and others, as
well as guest models; solo, or women or men photographed with me. Erotica, fine
art nude, traditional and experimental portraiture, conceptual art installations, drag
and performance portraits, couples photography are some of the types of work

4 of 5 7/22/2006 2:00 PM
heather corinna: storiegygjthoup wade (pkysepmaphyR Document 292-8 Filed 09/07/06  Phited/wwvpfemmnerotic.com/photo.html

found in my complete portfolio. All work is original and most is exclusive to this
site.

To become a patron by subscription, and more information on subscribing, click
here.

text nav: journal « photography « prose & poetry e biography « members entry « join e get 'yer ass home

5 of 5 7/22/2006 2:00 PM
heather corinna: pure asthe arivenglysh.Q5591-LR Document 292-8 Filed 09/07/OchtuF/Aypevifenmmeratic.com/journalfag.html

JOURNAL PHOTOGRAPHY PROSE B PO

“Une. fy fhe river Olith & ‘eutrndl)

I don't get it: is this page the journal, or is the whole thing the
journal?

- Really, calling the journal page alone the journal is a bit of a misnomer: all my
life I have chronicled not just with prose nonfiction, but with fiction, with

- poetry, with music, with visual imagery. So, when it all comes down to it, the
entirety of my personal site -- the photos, the fiction, the poetry, the editorial
-* and this personal journal -- IS my journal: it is a multimedia record of my days
«+ and what I create with those days.

This particular journal, in this format and at this location, dates back to early
_ 1999, and is archived in full.

' Do you get naked in your journal to get more traffic?

: No, and if I did, it'd be terribly foolish since I pay for my own bandwidth, and

it's mighty costly. Often on the journal page, I sometimes include photos from
recent shoots, because shooting photos and creating visual art is part of my

daily life, the same way that fiction and poetry may be included because it too,

is part of my daily life. The same way that say, including photos of one's child or |
oneself, or recounting the events of a day is any other diarist's daily life.

How come I can only read a few month's worth of entries OR how
come the archive and other parts of the site cost something?

The first part of the answer to that is that creating all of this costs ME
something (in my labor and time, in supplies, in bandwidth, etc.), and in order
to continue to create it, I need to have a means to pay those costs. But that's
actually less important than the fact that, like anyone else, I need to be
compensated for the work which I do in order to thrive and because that is part
of the give and take of any work, including creative work: I give my readers
and viewers material to take in, they supply me with the means to provide it
for them. I do not have another day job. Freelance work, this site and my others
" (scarletletters.com and scarleteen.com) ARE my job, and I log in more hours of
' work a week than your average person, and get paid less than your average
McDonald's employee by my own choice because this work is important to me.
Iam a full-time working artist. So, I need to get paid reasonably, and I do my
level best to keep my rates as low as I can within reason and supply as much
free content as I'm comfortable with.

In addition, most of my photos and fiction are considered adult because they
contain nudity, and to comply with web guidelines (and potential laws) about
adult material, I need to keep much of that material behind an age-screen,
which we can verify (to the best that it can be verified) with a membership
payment and a user agreement as a member. I prefer not to have to put an age
screen on the entire site or my journal, which is why I am careful about what
material I choose to show publicly. It also cuts down on the amount of
copyright infringement I have to police. And that's a good thing.

About how many people come to this site each day and read the
journal or other sections?

About 3000 unique users daily visit the free areas of my personal site. The
current journal entry is read about 800 times on an average day, a bit more
than the number of loads for the photo page index.

1 of 2 7/22/2006 2:07 PM
heather corinna: pure apthe dtiveg slush. 05591-LR Document 292-8 Filed 09/07/0d > Aypevfeanspeyopic.cony/journalfag-html

So, what about you?
What about me? More than you likely ever cared to know is right here. Got
other questions? Feel free to post at my message board, or drop the girl a line.

‘text nav: journal « photography e prose & poetry e biography « members entry « join « get 'yer ass home

2 of 2 7/22/2006 2:07 PM
heather corinna: about the- work gp this.f5591-1R Document 292-8 Filed 09/07/06 Pattpe/ywpfemmerotic.com/sitefag.html

Ly dlioe Ana Wek, hen. & hp of
leather Cortund Writer ~ Artist ~ Sex Aativist ¢ Educator
online and Edepentenr since 1997

‘Is the photography, fiction, poetry or nonfiction/journal porn?

That really depends on how you define pornography. Is it material made for
sexual entertainment that also portrays or celebrates sexual behaviour that
degrades, dehumanizes, exploits or abuses? No. Do I create the material for the
purpose of sexual entertainment? No. Do I create the material to sexually
arouse or incite a viewer, reader or myself? Sometimes: some of my work has i
that intent or experience, and just as much of it -- if not more -- does not.
Generally, I intend to examine sexuality, to document sexual realtionship, to
explore the human body and how IJ and viwers perceive it, to examine the
female body and feelings about it, to explore my own identity and use all those
aims to create work that creates questions. Does it include sexuality, eroticism
and/or nudity? Often, yes. Am I a porn star? Not unless a lover or two had a
camera behind their backs I didn't know about and sold the tapes, no. Many
people who work within the porn industry have the vaguest idea I exist; many
in that interest absolutely do not wish to claim me.

Because the term "pornography" has so many different meanings to so many
different people, I don't spend a whole lot of time trying to figure out whether |
my own work is porn or not, not to control what others might call it or how they
might classify it. I know most of my viewers don't use the material I produce
simply for sexual entertainment, if at all, though many do use it to explore
various avenues and approaches to sexuality and sexuality and nudity in the

arts. The term "pornographer" is not one I use to identify, but I'm also not hurt
nor offended to be termed such -- by some definitions of pornography, namely
the most literal one (that being material which is created for the purpose of
sexual arousal) -- I sometimes am a pornographer. But that does not meanall_
of.my work is pornography, nor that I intend it to be so.

Do you have a problem with pornography?

It depends on the material. I have issues with a lot of pornography. I ggorssly
object to the way in which some of it is produced, and I often object to what is
being represented or MISrepresented. I truly despise the way in which much of .
itis marketed, and the way in which (via spam, popups, etc.) alltoo much ofit ~
-is forced down people's throats. I don't care for plenty of what most .
pornography encourages or enables. On a less intense note, I think much of it is
just vapid and mindless, and is intended to be so (which is also destructive).
But I do feel that freedom of expression is incredibly important, and I would
not suggest that most of it which is produced legally, ethically, fairly to all
participants (and in an enviornment in which it truly is optional for all
participants) with truly informed adult consent, should be banned or censored.
It's generally nothing I feel I can make broad statements about, because what is
termed pornography is so vast, and I'm not comfortable considering it and
making judgments outside a case-by-case basis.

I do have a problem with any and all work which includes nudity or sexuality
being immediately plopped de facto in the porn pile, and I have a very big
problem with any or all consensual adult sexuality, depictions of such or.
depiction or description of the human body being termed obscene if it happens
to either get someone off OR incite sexual jealousy or insecurity. And suffice it
to say, I have the biggest problem of all with categorizations like pornography
and obscenity being used -- and often affixed to people or work no matter how

1 of4 oe : . 8/25/2006 4:30 PM
heather corinna: about éheayork oppthig $#5591-1R Document 292-8 Filed 09/07/06 Fila dvrendfemmperotic.com/sitefaq html

2 of 4

they define their own work themselves -- to reinforce our culture's substantial

' problem with joyful, positive sexuality, free sexual expression and creative

enjoyment and expression in and with the human body.
Why do you do all this? For the money?

Not hardly. From subscriptions to this site each month, on a good month, I net
a few hundred dollars, and that's before taxes. For a whole lot of work. That
money pays for my art supplies, my bandwidth, to fund other projects, and now
and then, for a little of my labor (though it does promote my photography
skills, so the site often helps net me freelance gigs for companies like gay.com

-and for private clients who want nudes done for their personal keeping). If I did

more mainstream work, if I really made porn, or used business practices and
scams like those listed at the top of this page, I'd likely make more money, but
it'd be at the expesne of my integrity and own ethics in terms of my artwork and
business dealings. The idea that the minute a woman gets naked, she makes a
buttload of money is fallacious: that only holds true with few people, in very
specific avenues, and not for any fine art nude photographer or self-portrait
artist, sexuality writer or freelance educator I have ever met. Not for most sex
workers of any type. When I chose to do the work I do at this site, I knew I was
making a choice to make LESS money than I had at other good jobs I'd had or

could at other jobs.

Sexuality, sexual politics, queer politics and issues, body and self-image, -
feminism, human rights are all issues that have taken precence in my life and
my head since I was pretty young, and I've always worked via the arts (visual,
textual and in music) and education. My aims in all of what I do -- in
photography, in writing erotica, in sexual education and address of sexual
politics -- are to get issues, imagery and objectives out into public discourse and
private consideration, to try and further the positives which sexuality has to
offer, publicly and privately in the ways I am able and which align best with my
own talents, skills and personal ethics and to explore my own forms of
self-expression...

Why is this site different from your average porn site?

* Most sites online which have visual sexual material make most of their money
via banners, links and popups to OTHER mainstream porn sites, most of which
are the same-old same-old vapid, misogynist crudola. Most use affiliate
agreements so that other companies or individuals make money via spamming,
popups or banners for those sites. In order to find my work, any viewer is either
going to have to search for it themselves, or be referred due to a gallery show or
publication I've shown at elsewhere, or an unpaid and unsolicited link to me
elsewhere. No one is going to arrive here by accident, nor through a solicitation
to do so, and while here, they will not find popups or java which sends them
elsewhere, nor traffic trades or agreements which push them unto any other
sites; this site does net any income from other porn sites or enterprises, only
from subscriptions to the site itself.

« With most sites online which have visual sexual material, the person making
the money is NOT the subject of the work, nor the creator of the work or the
active participant, but someone partially or wholly removed from that aspect.
In addition, I do the whole of the site myself: no venture capital has been

_ involved, and I design, code, and edit all the content I create on my own, No

one else is receiving a portion of my profits nor paying me as a performer: what
I make goes to fund the basics of my life, my work and not-for-profit projects I
run like Scarleteen.

+ Many sites online which contain erotic photography of women use the

8/25/2006 4:30 PM
heather corinna: aboutdhg aiors-@pshigsi5591-1R Document 292-8 Filed 09/07/06 Pag dwrerdpamperotic.com/sitefag html

"bordello approach." In other words, create a collection of "our girls" or "my
girls." The majority of the work here is self-portraiture, work by guest
photographers in which I am the subject or work I have done with subjects who
wanted photos taken for their own purposes, and have agreed to let eme show
the work in exchange for doing the photos and consultations for them. Subjects
agree (and they don't have to) to have the work I've done with them shown
because they simply want to help support and sustain my work. No one, save
myself, is owned by me, nor do I intimate that they are because I have taken
their photo and am showing the work.

« The language surrounding erotic or sexual material at all sites is highly
targeted and intentional, in terms of telling the viewer it IS erotic, and nearly
always, clearly speaking to men. From my own viewpoint, some of my work is
primarily erotic and sexual in nature, some of it is not -- but how a viewer sees
it is not something that I can decide nor dictate, nor do I wish to: chances are
good that a given set, photo or text piece that I may not feel is erotic to me at all —
may be seen as very much so by a different viewer or reader. Moreover, much of
that language is selling the subjects in the photos as commodities. No one is
purchasing my subjects here -- patrons are buying an entrance into a virtual
gallery and library to view and read the work. As well, there is as much, if not’
more, written work here as photographic work. It would be incredibly difficult
to view me as mere object or mere sexual object, when my viewers and readers,
per their own reports and my traffic logs, spend just as much time reading
about my daily life, my politics, and the whole of my work, as they do looking at
the photographs. Anyone who did so would be doing so against my wishes and
my intent.

* While my work is often of an erotic nature, and/or includes the nude body,
that is because that is where my interests and inspiration often lie, not because
I am required to produce work of that nature. The beauty of being my own
publisher in the fashion I am is that I can shoot or show anything I like to, and
beyond the fine art nude or erotic work, that has also included a lot of
portraiture and self-portraiture, nature photography and other subjects. -

* Much of the site here isn't about nudity or photography or sexuality at all, nor
is it intended to sexually arouse or be masturbation fodder. In other words: I
don't intend for this site to BE a porn site. In fact, the largest body of work here —
is the archive of my journal, which does sometimes recount my romantic or
sexual relationships or sexual experiences, it's more often about issues in all the
facets of my work -- in photography, erotic and nonerotic, in sex education and _
sexuality writing, in writing poetry, in activist work -- about my friendships and .
community, my buddhist practice, politics, boxing, and all the minutae of my
daily life.

Is it different because you don't look like most women in "porn"? Or
because you're a dyke? Or because you're literate?

No, no and no. The jury is always out as to how much I do or don't fit certain
cultural ideals in terms of my appearance. For instance, I am generally present
fairly femme. I do, in many photographs, wear some makeup, and occasionally,
a good deal of it. I have long hair. I like the look of things like fishnet stockings
(though mainly because I dig strong, graphic lines); I do sometimes wear
femme clothing, and my body is one that can generally be considered attractive
in a mainstream way. On the other hand, I'm over 35. I'm short. I have scars,
stretch marks and the like that I don't hide, and I don't tend to glom myself
with makeup, and I don't have any cosmetic surgery (even on my disabled
hand). I don't weigh 110 pounds and a lot of my curve is muscle from boxing,
and I don't fit some standard ideals. I don't tend to play the ingenue. I do not
hold myself or other women to mainstream beauty ideals, or fit the ideas of

3 of 4 . . 8/25/2006 4:30 PM
heather corinna: aboutthe.work op this si§6597 | R Document 292-8 Filed 09/07/06 PHgé ior pperotic.com/sitefag. html

lesbianism or bisexuality as represented by mainstream pornography or
erotica. I am literate, and much of my work is paired with text and I'd never
dumb myself down for anyone.

But what about the money, and the fact that one has to pay to view a
lot of your-work?

The primary motivating factor in my work here on site is creative, not
commercial. The fee for subscription to see my entire portfolio, written and
visual, and the archive of my journal, is akin to the cost of a museum
membership -- it exists primarily to pay my overhead and to enable me to have
the supplies I need -- as well as a roof over my head -- to create work. I do what
work I like, which is directed and motivated by my own interests -- not catering
to an audience with requests to be sure I keep their dollars.

In the free portions of the site, you'll find as much, if not more material than
you're going to find at most artists and authors personal websites. The
members area contains near to every piece of work -- visually, textually -- that I
have done in the last five or six years, well over 10,000 pieces. To show all of
them publicly, especially at a site like this with such high traffic, and which
includes nudes ( so requires a more costly adult server), would cost me sums of
money I don't have. As well, much like one must buy a book in order to read it,
or an album in order to hear it, or pay a fee or have a membership to a museum
to see everything within it, there is a charge here to view all of that work. The
cost for such is minimal compared to the cost of my time, labor and bandwidth.
I strongly feel artists should be paid for their work: if we are not, and are not
independently wealthy, especially if we are full-time artists, we cannot have the
means to create our work: I'm no exception. In other words, I'm working and
am entitled to be paid for my work like anyone else, and asking TO be paid does
not diminish the quality of my work or make it unimportant, because Tam
compensated for it.

Having much of my work go to a smaller patrons area also gives me a bit more
freedom to experiment with the work I'm doing, without the pressure of every
piece being shown to an incredibly large audience. I've found that knowing that
I can show my work publicly, but to a limited group unless I want to put certain
pieces all the way out there, contributes to my ability to take risks with my work
I might not otherwise feel able to be taking.

Should subscription to the site not be of interest, I do also sell prints of my
photographic work, and my written work has been included in several print
anthologies and publications, as well as no-cost websites. Local patrons
interested in seeing a full catalog of my work can also attend open studios
which I hold here in Minneapolis every so often.

For more information on what I do and why, see the about page, some of my
favorite journal entries or the journal entire,, the photography or words pages,
my two other websites, Scarleteen and Scarlet Letters, or do a search with
Google to find more articles or columns I've published, anthologies you can
find my work in, the works.

text nav: journal « photography « prose & poetry * biography « members entry e join « gat 'yer ass home

A of 4 : . a . 8/25/2006 4:30 PM
